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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES — GENERAL

Case No. 2:20-cr-40-AB Date September 18, 2020

 

Title United States v. Pedro Roberto Hernandez-Gomez

 

Present: The Honorable Steve Kim, U.S. Magistrate Judge

 

 

Connie Chung n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Government: Attorneys Present for Defendant:
n/a n/a
Proceedings: (IN CHAMBERS) ORDER DENYING APPLICATION FOR

RECONSIDERATION OF DETENTION

On January 8, 2020, the Court conducted a detention hearing and ordered Defendant
detained based on the Court’s finding that no conditions would reasonably assure the appearance
of Defendant as required and the safety of the community or public. Defendant now seeks
reconsideration of detention based on additional sureties who have agreed to sign unsecured
bonds totaling $37,000. The Court has considered the arguments of counsel and all papers filed

by the parties. Defendant’s request is denied.

The Court continues to find based on the information presented to date that no conditions
will reasonably assure the appearance of Defendant as required and the safety of the public if
Defendant were released based only on the unsecured bond proposal. The Court bases its
findings (in addition to those made at the initial detention hearing) on the following grounds:

x Unsecured bonds insufficient to adequately mitigate risk of non-appearance and
danger to the public on the facts of this case.

x) Previous failure to appear.

Xl

Statutory presumption of detention (even if rebutted, still considered).

x]

No viable employment upon release.

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Allegations in indictment and weight of evidence (as least important factors).

Substantial ties to foreign country (Mexico).

Length of potential incarceration if convicted.

Detention recommendation of supervising Pretrial Services Officer.

Previous criminal history.

Recidivism shortly after release from prior term of supervised release.

x Evidence of past substance use.

In reaching this decision, the Court considered: (a) the nature and circumstances of the
offense(s) charged; (b) the weight of evidence against the defendant; (c) the history and
characteristics of the defendant; and (d) the nature and seriousness of the danger to any person

or the community. 18 U.S.C. § 3142(g).

The Court also finds that Defendant has not met his burden for temporary release under
18 U.S.C. § 3142(i) based on the generally applicable reasons cited by Defendant that stem from
the Covid-19 pandemic and related prison conditions. See United States v. Villegas, ---

F.Supp.3d ---, 2020 WL 1649520, at *2-3 (C.D. Cal. Apr. 3, 2020).

IT IS THEREFORE ORDERED that Defendant be detained until trial, currently set for

January 2021.

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